           2:24-cr-20012-CSB-EIL      # 143       Filed: 02/10/25    Page 1 of 1
                                                                                             E-FILED
                                                               Monday, 10 February, 2025 03:26:03 PM
                                                                        Clerk, U.S. District Court, ILCD

                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )
                                              )       Case No. 24-CR-20012
 v.                                           )
                                              )
 DESHANTE INGRAM,                             )
                                              )
        Defendant.                            )

       ORDER APPROVING MAGISTRATE JUDGE RECOMMENDATION

      On January 24, 2025, a Report and Recommendation Concerning Plea of Guilty

(#136) was filed by United States Magistrate Judge Eric I. Long in the above cause. More

than fourteen (14) days have elapsed and no objections have been made. This court

therefore accepts the recommendation of the Magistrate Judge. Accordingly, Defendant

Deshante Ingram’s plea of guilty as to Counts 1 and 5 of the Indictment (#7) is accepted

and Defendant is adjudged guilty on those counts. The court orders that a pre-sentence

investigation report be prepared. A sentencing hearing remains set for June 2, 2025, at

3:45 pm before this court.

                                  ENTERED this 10th day of February 2025.

                                  s/ Colin S. Bruce
                                  COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE
